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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                                Galveston Division
______________________________________
                                       )
TEXAS DEPARTMENT OF CRIMINAL           )
JUSTICE,                               )
                                       )
                  Plaintiff,           )
                                       )
            v.                         )    Case No. 3:17-cv-00001
                                       )
UNITED STATES FOOD AND DRUG            )
ADMINISTRATION, et al.,                )
                                       )
                  Defendants.          )
                                       )


    DEFENDANTS’ CONSENT MOTION TO CONTINUE STATUS CONFERENCE

       Pursuant to Rule 7 of the Court’s local rules, defendants, the United States Food and

Drug Administration, et al., respectfully request that the Court continue for 90 days the status

conference that the Court has set for June 18, 2018. See Order, May 25, 2018, ECF No. 58. The

Texas Department of Criminal Justice (Texas) consents to this continuance and does not oppose

keeping the case stayed in the meantime.

       This case is currently stayed and administratively closed. See Order, Dec. 4, 2017, ECF

52. In the May 25, 2018 Order, the Court specified that, at the June 18 status conference, it

intended to hear argument on Texas’s motion to lift the stay and set a briefing schedule (ECF

53). As we indicated previously, the federal government has been exploring options internally

for resolving this lawsuit in a way that would obviate the need for the Court to issue a decision.

Granting the requested continuance would allow those internal deliberations to continue.

       For this reason, we respectfully request that the Court keep the existing stay in place and

continue the June 18, 2018, status conference by 90 days.
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                                           Respectfully submitted,

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                                           Deputy Assistant Attorney General

                                           GUSTAV EYLER
                                           Acting Director

                                           ANDREW E. CLARK
                                           Assistant Director

                                           s/ Alexander V. Sverdlov   _
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June 13, 2018                              Attorneys for Defendants




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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    Galveston Division
______________________________________
                                      )
TEXAS DEPARTMENT OF CRIMINAL          )
JUSTICE,                              )
                                      )
                  Plaintiff,          )
                                      )
            v.                        )           Case No. 3:17-cv-00001
                                      )
UNITED STATES FOOD AND DRUG           )
ADMINISTRATION, et al.,               )
                                      )
                  Defendants.         )
                                      )


                                    [PROPOSED] ORDER

       Upon consideration of the defendants’ consent motion to continue the status conference,

and upon due deliberation, it is hereby

       ORDERED that the motion is granted; and it is further

       ORDERED that a status conference in this case is set for September ___, 2018.

       SO ORDERED.




DATED: _______________                             _________________________________
                                                   HON. GEORGE C. HANKS, JR.
                                                   United States District Judge
      Case 3:17-cv-00001 Document 61 Filed in TXSD on 06/13/18 Page 4 of 4



                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on this 13th day of June, 2018, a copy of the

foregoing “DEFENDANTS’ CONSENT MOTION TO CONTINUE STATUS CONFERENCE”

was filed electronically. This filing was served electronically to all parties by operation of the

Court’s electronic filing system.



                                    s/ Alexander V. Sverdlov
